

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






No. 0070-02






JOSE FRANCO ARMENDARIZ, Appellant



v.



THE STATE OF TEXAS





ON THE STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE EIGHTH COURT OF APPEALS


ECTOR  COUNTY






	Holcomb, J., delivered the opinion of the Court, in which Keller, P.J., and Price,
Womack, Keasler, Hervey, and Cochran, JJ., joined.  Womack, J., also filed a
concurring opinion.  Meyers, J., filed a dissenting opinion, in which Johnson, J.,
joined.



OPINION




	The court of appeals held that the trial court erred in denying appellant's motion to suppress. 
Armendariz v. State, 63 S.W.3d 572, 578 (Tex.App.-El Paso 2001).  We reverse.

The Relevant Facts


	An Ector County grand jury indicted appellant on one count of possession of a controlled
substance, namely cocaine.  See Tex. Health &amp; Safety Code § 481.115(d).  Appellant later filed a motion
to suppress the cocaine in question, and the trial court held an evidentiary hearing on the motion.  The
evidence adduced at the hearing, viewed in the light most favorable to the trial court's later ruling, (1)
established the following:

	On June 10, 1999, the Odessa Police Department received an anonymous tip that appellant would
soon transport a quantity of cocaine from his residence on Witcher Street to the "La Bodega" convenience
store on West 42nd Street.  Both appellant's residence and the convenience store were located outside
the Odessa city limits but inside Ector County.  Odessa Police Officer Jordan Medrano asked Ector
County Deputy Sheriff Keith Paquette to assist in the investigation of appellant, and Paquette agreed to do
so.  Medrano and Paquette, both undercover in civilian clothes and in unmarked vehicles, located
appellant's residence, and Medrano began surveillance of it.  Paquette remained in the area, in his
unmarked vehicle, ready to assist.  Several other Odessa police officers, in marked police vehicles, were
also in the area, ready to assist.  All of these peace officers maintained continuous radio contact.  At
approximately 4:30 p.m., Medrano observed appellant drive away from his residence in a green Lincoln
automobile.  Medrano radioed this information to the other police officers in the area and to Paquette. 
Moments later, Paquette spotted appellant's vehicle, followed it briefly, and observed appellant commit
a traffic offense, namely passing on the shoulder.  Since Paquette was undercover - and, therefore, not in
a position to initiate a traffic stop of appellant - he radioed his observations to the Odessa police officers
in the area and instructed them to stop appellant's vehicle.  Two of the Odessa police officers then stopped
appellant's vehicle at a point inside Ector County but outside the Odessa city limits.  They asked for
appellant's consent to search his vehicle, and he gave that consent voluntarily.  The officers then searched
appellant's  vehicle and found two small bundles of cocaine.  Paquette arrived at the scene a few minutes
later.

	At the close of the evidence at the suppression hearing, appellant made two arguments as to why
the cocaine in question should be suppressed.  His first argument, grounded in the Fourth Amendment to
the United States Constitution, was that the cocaine was the fruit of an unreasonable seizure and search
conducted without probable cause. (2)  His second argument, grounded in Article 14.03(d) of the Texas
Code of Criminal Procedure, (3) was that the cocaine was the fruit of an illegal traffic stop carried out outside
the Odessa police officers' geographic jurisdiction. 

	 The trial court rejected both of appellant's arguments and denied his motion to suppress.  More
specifically, the trial court concluded that the stop and search of appellant's vehicle were lawful under both
the Fourth Amendment and state law because (1) at the time of the stop, the Odessa police officers had
probable cause to believe that appellant was then committing the felony offense of possession of cocaine,
(2) the officers obtained appellant's consent to search, and (3) the officers "had the participation by [the]
sheriff's deputy outside the city limits."  

	Later, after a bench trial, the trial court found appellant guilty and assessed his punishment at
imprisonment for five years and restitution in the amount of $140.

	On direct appeal, appellant reiterated the two arguments he made in the trial court.  The Eighth
Court of Appeals accepted both of appellant's arguments, reversed the judgment of the trial court, and
remanded the case for further proceedings.  Armendariz v. State, 63 S.W.3d at 578.  We later granted
the State's petition for discretionary review to determine whether the court of appeals erred.  See Tex. R.
App. Proc. 66.3(b) &amp; (c).

Analysis


	The court of appeals was obligated to uphold the trial court's ruling on appellant's motion to
suppress if that ruling was supported by the record and was correct under any theory of law applicable to
the case.  State v. Ross, 32 S.W.3d 853, 856 (Tex.Crim.App. 2000).  That rule holds true even if the trial
court gave the wrong reason for its ruling.  Romero v. State, 800 S.W.2d 539, 543 (Tex.Crim.App.
1990).  Our task, then, is to determine whether the trial court could have reasonably denied appellant's
motion to suppress given the record evidence and given the applicable federal and state law.

	We turn first to appellant's Fourth Amendment claim.  As we noted previously, appellant argued
in the trial court that the cocaine found in his vehicle should be suppressed, under the Fourth Amendment,
as the fruit of an unreasonable seizure and search conducted without probable cause.  Given the record
evidence, however, the trial court could have reasonably concluded that the seizure and search of
appellant's vehicle did not violate the Fourth Amendment.  Once Deputy Sheriff Paquette observed
appellant commit a traffic offense, he radioed that information to the Odessa police officers, and that
information gave those officers probable cause to stop appellant's vehicle. (4)  Once the officers stopped
appellant's vehicle, they asked for and received his voluntary consent to search.  Since the search followed
a legitimate traffic stop and was carried out with appellant's consent, it was reasonable under the Fourth
Amendment.  See Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973). 

	We turn next to appellant's state law claim.  As we noted previously, appellant argued in the trial
court that the cocaine should be suppressed, under Article 14.03(d), as the fruit of an illegal traffic stop
carried out outside the Odessa police officers' geographic jurisdiction.  Given the record evidence,
however, the trial court could have reasonably concluded that the traffic stop did not violate state law.  That
is, the trial court could have reasonably concluded that the traffic stop was lawful under Article 14.01(b) (5)
as interpreted by this Court in Astran v. State, 799 S.W.2d 761 (Tex.Crim.App. 1990).  

	In Astran, we faced a fact pattern analogous to the instant one:

		Dallas officers, uniformed and undercover, were working in a combined effort to
arrest drug offenders on the date of [Romaldo Astran's] arrest.  Officer Wilson was part
of the team and was working undercover making street buys of illegal drugs.  Wilson
bought twenty dollars' worth of heroin from [Astran] and drove away from the scene of
the sale.  He immediately radioed uniformed Officer Black to make the arrest.  Wilson
gave a detailed description of [Astran], which included [his] height, weight, and location. 
Wilson specifically told Black that [Astran] was wearing a tee-shirt which spelled the
words "Jesus Christ."  Black found appellant in two minutes and arrested him.  Wilson was
parked two blocks away during the arrest and maintained radio contact with Black
throughout the sighting and arrest.  Within thirty minutes of the arrest Wilson identified
appellant at the police station as the person who sold the drugs.  During the arrest, Black
found a small matchbox with five capsules of heroin on [Astran's] person which [Astran]
sought to have suppressed [as the fruit of an illegal arrest and search].


Id. at 762.  On those facts, we held that Astran's arrest was lawful under Article 14.01(b) because
"Wilson's participation in and awareness of the circumstances of the arrest made him just as much a
participant in [Astran's] arrest as if he had seized [Astran] himself."  Id. at 764 (internal quotation marks
omitted).  In other words, Astran's arrest was lawful under Article 14.01(b) because Wilson himself, in
effect, arrested Astran.

	Given Article 14.01(b), as interpreted in Astran, and given the record evidence in this case, the
trial court here could have reasonably concluded that appellant's arrest was lawful because Paquette
himself, in effect, arrested appellant and Paquette was clearly acting within his geographic jurisdiction, which
was Ector County.  The record evidence shows that Paquette observed appellant commit a traffic offense
and that Paquette then radioed that information to the Odessa police officers and instructed them to stop
appellant's vehicle.  The record evidence also shows that Paquette remained in continuous radio contact
with the Odessa police officers, and that he arrived at the scene of the arrest just a few minutes after
appellant's vehicle was stopped.  Given those facts, the trial court could have reasonably concluded that
Paquette's participation in and awareness of the circumstances of appellant's arrest made him just as much
a participant in the arrest as if he had seized appellant himself.  In light of such an Astran analysis, the
geographic jurisdiction of the Odessa police officers was irrelevant.

	The trial court's ruling denying appellant's motion to suppress was supported by the record and
was correct under a theory of law applicable to the case.  Therefore, the court of appeals was obligated
to uphold the trial court's ruling and erred in failing to do so.

	We reverse the judgment of the court of appeals and affirm the judgment of the trial court.


DELIVERED DECEMBER 10, 2003

PUBLISH
1.   An appellate court reviewing a trial court's ruling on a motion to suppress must view the
evidence in the light most favorable to the trial court's ruling.  State v. Ross, 32 S.W.3d 853, 855
(Tex.Crim.App. 2000).
2.   The Fourth Amendment's prohibition of unreasonable searches and seizures was made
applicable to state officials by the Due Process Clause of the Fourteenth Amendment.  Wolf v.
Colorado, 338 U.S. 25, 27-28 (1949).
3.   Article 14.03(d) provides, in relevant part:


	A peace officer who is outside his jurisdiction may arrest, without warrant, a person
who commits an offense within the officer's presence or view, if the offense is a felony,
a violation of Title 9, Chapter 42, Penal Code [prohibiting disorderly conduct], a
breach of the peace, or an offense under Section 49.02, Penal Code [prohibiting public
intoxication].
4.   Under the Fourth Amendment, probable cause to conduct a warrantless seizure exists when
police have, at the moment of the seizure, knowledge of facts and circumstances grounded in
reasonably trustworthy information and sufficient in themselves to warrant a belief by a prudent person
that an offense has been or is being committed by the person seized.  Beck v. Ohio, 379 U.S. 89, 91
(1964).
5.   Article 14.01(b) provides that "[a] peace officer may arrest an offender without a warrant for
any offense committed in his presence or within his view."


